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                                                                FILED: May 12, 2025


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT


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                                          No. 25-1279
                                     (8:25-cv-00337-BAH)
                                    ___________________

        PFLAG, INC.; AMERICAN ASSOCIATION OF PHYSICIANS FOR HUMAN
        RIGHTS, INC., d/b/a GLMA: Health Professionals Advancing LGBTQ Equality;
        GABE GOE, by and through his parent and next friend George Goe; GEORGE
        GOE; BELLA BOE, by and through her parent and next friend Bruce Boe;
        BRUCE BOE; CAMERON COE, by and through their parent and next friend
        Claire Coe; CLAIRE COE; ROBERT ROE, by and through his parent and next
        friend Rachel Roe; RACHEL ROE; LAWRENCE LOE; DYLAN DOE

                    Plaintiffs - Appellees

        v.

        DONALD J. TRUMP, in his official capacity as President of the United States;
        UNITED STATES DEPARTMENT OF HEALTH & HUMAN SERVICES;
        HEALTH RESOURCES AND SERVICES ADMINISTRATION; DIANA
        ESPINOSA, in her official capacity as Principal Deputy Administrator of the
        Health Resources and Services Administration; NATIONAL INSTITUTES OF
        HEALTH; MATTHEW J. MEMOLI, in his official capacity as Acting NIH
        Director; NATIONAL SCIENCE FOUNDATION; SETHURAMAN
        PANCHANATHAN, in his official capacity as Director of the National Science
        Foundation; ROBERT F. KENNEDY, JR., in his official capacity as Secretary of
        the U.S. Department of Health and Human Services

                    Defendants - Appellants

         and
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        STATE OF WEST VIRGINIA

                     Defendant

                                     ___________________

                                          ORDER
                                     ___________________

              Upon consideration of appellants’ unopposed motion for abeyance, the court

        grants the motion and places this case in abeyance pending a decision by the United

        States Supreme Court in United States v. Skrmetti, No. 23-477 (S. Ct.).

                                              For the Court

                                              /s/ Nwamaka Anowi, Clerk
